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July 22, 2002 600,000-12
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I he Honorable Dickran Tevrizian WRITER'S FAMAEL ADDRESS
United States District Judge jasperger@iomm.com

United Stated District Court

Edward R. Roybal Federal Building & Courthouse
255 East Temple Street

Los Angeles, California 90012

Re: U.S. v. Barry Minkow, Case No. CR 88-22-DT

Dear Judge Tevrizian:

I write in support of Barry Minkow’s request to terminate his probation. Since Mr.
Minkow was released from custody, I have both met and talked with him on a number of
occasions. In my opinion, Mr. Minkow has fully accepted responsibility for his past criminal
conduct. He has also made extraordinary efforts to become a law abiding citizen and to make
meaningful contributions to society.

More specifically, immediately following Mr. Minkow’s release, he invited me to hear
him give a presentation at the Church of Rocky Peak in Malibu that included his experiences in
prison, what he had learned from those experiences, and his conversion to Christianity. At that
time, I understood Mr. Minkow was studying the ministry at the Church of Rocky Peak. I
attended the presentation, as did several agents from the Federal Bureau of Investigation who
assisted me in the investigation and prosecution of Mr. Minkow’s case. I was quite impressed,
but not surprisingly somewhat skeptical about whether Mr. Minkow would, over time, truly
prove to be rehabilitated.

Following that presentation, I remained in contact with Mr. Minkow. Based on those
contacts, | now believe that Mr. Minkow has shown not only that he is rehabilitated, but also that
he has been able to direct his talent and energy in productive ways. For example, he is now the
senior pastor of a thriving church in San Diego — the San Diego Community Bible Church. |
understand that the growth and success of the church is due in large part to his efforts and
leadership. Mr. Minkow, through the Church, is active in assisting the underprivileged and

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serving the San Diego Community. These efforts include providing services and counseling both
at the San Diego Rescue Mission and at a federal prison in San Diego.

In addition, Mr. Minkow has spoken frequently to groups of accountants and other
professionals about fraud detection, including events sponsored by the F ederal Bureau of
Investigation and the American Institute of Certified Fraud Examiners. More recently, he has
participated, along with a former partner of Deloitte & Touche and others, in the founding of the
Fraud Discovery Institute. The Fraud Discovery Institute offers training programis on the
detection of fraud and has developed an intcractive program to assist auditors in fraud detection.
Mr. Minkow also spoke recently to a group of over 30 associates and summer associates at my
law firm on the psychology of fraud and related issues. His presentation was extraordinarily
well-received, and those who attended considered him to be impressive, engaging and insightful.

When I prosecuted Mr. Minkow I believed that he had the talent and energy to be very
successful in completely lawful ways. I also believed that given his youth, he perhaps had a
greater potential than other white collar criminals to change the course of his life and to become
law abiding after his release from prison. He has now been out of prison for over seven years
and has lived up to that potential. Based on my experience both as a former federal prosecutor
and a defense attorney, I belicve that the interests of justice have been served by the time Mr.
Minkow has spent in custody, on parole, and on probation, and that he is a suitable candidate for
early termination of his probation. I therefore support his request for that action.

Very truly yours,

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/
James R. As r
of O'MELVENY RS LLP

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